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Proposed Intervenors

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
CENTER FOR BIOLOGICAL Lead Case
DIVERSITY, et al., CV 24-86-M-DWM
Plaintiffs, Member Case
CV-24-87-M-DWM
WESTERN WATERSHEDS PROJECT, CV-24-97-M-DWM
et al.,
PROPOSED ORDER
Consolidated Plaintiffs, GRANTING THE UNOPPOSED
MOTION TO INTERVENE AS A
ANIMAL WELLNESS ACTION, et al., DEFENDANT BY STATE OF
MONTANA AND MONTANA
Consolidated Plaintiffs, DEPARTMENT OF FISH,
WILDLIFE AND PARKS
VS.
UNITED STATES FISH AND
WILDLIFE SERVICE, et al.,
Defendants,

PROPOSED ORDER GRANTING THE UNOPPOSED MOTION TO INTERVENE AS A
DEFENDANT BY STATE OF MONTANA AND MONTANA DEPARTMENT OF FISH, WILDLIFE AND PARKS -1
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SPORTSMEN’S ALLIANCE
FOUNDATION, et al.,

Defendant-Intervenors.

STATE OF MONTANA and
MONTANA DEPARTMENT OF FISH,
WILDLIFE AND PARKS,

Defendant-Intervenors.

The State of Montana and Montana Fish, Wildlife and Parks (together,
“Montana’”) have filed a motion to intervene as a matter of right in this action
pursuant to Federal Rule of Civil Procedure 24(a) or, in the alternative, to intervene
at the Court’s discretion pursuant to Rule 24(b).

Good cause showing, IT IS ORDERED that the Unopposed Motion to
Intervene as a Defendant by State of Montana and Montana Department of Fish,
Wildlife and Parks is GRANTED.

IT IS FURTHER ORDERED that Montana must adhere to the briefing
schedule identified in the case management order (Doc. 33) and that Montana’s
combined cross-motion, if any, and response to the Plaintiffs’ and Consolidated
Plaintiffs’ motion for summary judgment be limited to 6,500 words, and
Montana’s reply be limited to 2,000 words.

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PROPOSED ORDER GRANTING THE UNOPPOSED MOTION TO INTERVENE AS A
DEFENDANT BY STATE OF MONTANA AND MONTANA DEPARTMENT OF FISH, WILDLIFE AND PARKS -2
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IT IS FURTHER ORDERED that the caption is modified as reflected above
and that the Clerk of this Court is directed to file the lodged Answers of Montana.

DATED this day of , 2024.

Donald W. Molloy, District Judge
United States District Court

PROPOSED ORDER GRANTING THE UNOPPOSED MOTION TO INTERVENE AS A
DEFENDANT BY STATE OF MONTANA AND MONTANA DEPARTMENT OF FISH, WILDLIFE AND PARKS -3
